                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA,                    )
                                              )
                                Plaintiff,    )
                                              )
                       v.                     )       No. 3:05-CR-142
                                              )
 ROBERT SMITH,                                )       (PHILLIPS/SHIRLEY)
                                              )
                                Defendant.    )


                                             ORDER

        This case is before the Court on October 22, 2009, for a hearing on defense counsel’s Motion

 for Appointment Pursuant to Criminal Justice Act, [Doc. 116], filed on September 14, 2009, and

 referred [Doc. 117] to the undersigned on September 16, 2009. See 28 U.S.C. § 636(b). Assistant

 United States Attorney Melissa M. Millican appeared on behalf of the government. Retained

 Attorney Robert L. Vogel represented the Defendant, who was also present. The motion was

 initially filed under seal, but the Court determined and counsel agreed that it could be unsealed.

 Accordingly, the Defendant’s Motion for Appointment Pursuant to Criminal Justice Act [Doc. 116]

 is UNSEALED.

        In the motion, defense counsel asks to be appointed to represent the Defendant pursuant to

 the Criminal Justice Act (CJA), 18 U.S.C. § 3006A. The Defendant initially qualified for and was

 appointed [Doc. 7] CJA counsel. In late January 2006, the Defendant’s family retained Attorney

 Vogel to represent the Defendant through the remainder of the case. In his motion, Mr. Vogel states

 that the Defendant’s family is no longer able to complete payment of the agreed upon fee. Counsel


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 states that he has represented the Defendant for over three years now and has exhausted the payment

 made by the family. He states that would like to complete the case.

        At the hearing, AUSA Millican stated that the Government had no objection to defense

 counsel’s request. The Defendant was sworn and questioned by the Court. The Court finds that the

 Defendant, who has been in continuous custody since his initial appearance on November 11, 2005,

 does not have the funds to hire counsel and still qualifies for appointed counsel. The Defendant

 would like Mr. Vogel to continue to represent him in this case. Accordingly, for good cause shown,

 defense counsel’s Motion for Appointment Pursuant to Criminal Justice Act [Doc. 116] is

 GRANTED. Mr. Vogel will be appointed in a separate order.

        IT IS SO ORDERED.

                                                      ENTER:


                                                        s/ C. Clifford Shirley, Jr.
                                                      United States Magistrate Judge




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